Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 1 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 2 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 3 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 4 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 5 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 6 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 7 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 8 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
    Exhibit B Request for Payment of Administrative Expense form Page 9 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 10 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 11 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 12 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 13 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 14 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 15 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 16 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 17 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 18 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 19 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 20 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 21 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 22 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 23 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 24 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 25 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 26 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 27 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 28 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 29 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 30 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 31 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 32 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 33 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 34 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 35 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 36 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 37 of 38
Case 08-14631-GMB Doc 608-2 Filed 08/27/08 Entered 08/27/08 12:05:17 Desc
   Exhibit B Request for Payment of Administrative Expense form Page 38 of 38
